Case 2:05-cV-02213-SHI\/|-STA Document 45 Filed 06/30/05 Page 1 of 3 Page|D 39

ratio nr.m_.,,C/.§*_Jé_.tj.e.
IN THE UNlTED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEEZUU§ JU;.; 30 pa 3= 22

WESTERN DIVISION
lH{J`."»i“'\S !-.15. =E‘lj‘i£;t`l
CHARYL AUTIN, et Hl-, ) CLEHK, U.S. L‘»iSlPlCT COURT
) WfD GF TI\I. !-.tEt¢tPt~i!S
Plaintiffs, )
)
v. ) NO. 05-2213 Ma/An
)
SOLVAY PHARMACEUTICALS, )
INC., et al., )
)
Defendants. )

 

ORDER

 

Counsel for the parties submitted a proposed l()(b) Scheduling Order to the Court that
tied the establishment of certain pre-trial deadlines to rulings by the Court on pending Motions to
Dismiss. However, after consultation with United States District Judge Samuel H. Mays, Jr., the
Court concludes that counsel should submit a proposed Scheduling Order that contains pre-trial
deadlines that are not tied to rulings on any pending motions

Therefore, it is ORDERED that counsel shall confer and submit a joint proposed
Scheduling Order by WEDNESDAY, JULY 13, 2005 that sets forth pre-trial deadlines that are

not tied or dependent on a ruling by the Court or any pending motion.

<S/.”?ZLW @._)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

lT IS SO ORDERED.

Date: QW\?>C>', 3001/_-

1 0 @

This document entered on the docket.shee in corrap"a'ic
W!th Fiule 58 and/or 79(a} FHCP on tj“` /"' b`gj
--__.___._______

risi\iNsissisis

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:05-CV-02213 Was distributed by faX, mail, or direct printing on
July 1, 2005 to the parties listed.

 

 

Elizabeth T. Collins

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

l\/lemphis7 TN 38103--552

Jason H. FoX

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turtle Creek Blvd.

Ste. 900

Dallas, TX 36068

Nioole K. Wilson
THOl\/[PSON H[NE LLP
127 Publio Square

Ste. 3900 Key Center
Cleveland7 OH 441 14

Frank B. Thaoher

BURCH PORTER & JOHNSON PLLC
130 N. Court Ave.

l\/lemphis7 TN 38103

John S. Wilder

WILDER & SANDERS
108 E. Court Square
Somerville, TN 38068--143

Reid SteWart

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turtle Creek Blvd.

Ste. 900

Dallas, TX 75219

Jef Feibelman

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Case 2:05-cV-02213-SHI\/|-STA Document 45 Filed 06/30/05 Page 3 of 3 Page|D 41

DeWitt 1\/1. Shy

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Erio N. Roberson

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turtle Creek Blvd.

Ste. 900

Dallas, TX 75219

Patriok J. Mulligan

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turtle Creek Blvd.

Ste. 900

Dallas, TX 75219

J ames S. Robenalt
THOl\/[PSON H[NE LLP
127 Publio Square

Ste. 3900 Key Center
Cleveland7 OH 441 14

Miohael E. Keeney

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

l\/lemphis7 TN 38103--552

Andrew S. Johnston

l\/[[NOR & JOHNSTON7 P.C.
124 East Market Plaoe
Somerville, TN 38068

Miohael L. Hardy

THOl\/[PSON H[NE & FLORY LLP
127 Publio Square

Cleveland7 OH 441 14

Honorable Samuel Mays
US DISTRICT COURT

